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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF MICHIGAN

                                           CASE NO. 2:23-cv-11718-RJW-APP


             YAACOV APELBAUM,
             and XRVISION, LTD.,

                              Plaintiffs,

             v.

             STEFANIE LAMBERT, THE
             LAW OFFICE OF STEFANIE
             L. LAMBERT, PLLC, and
             BILL BACHENBERG,

                              Defendants.
                                                       /


                                    DECLARATION OF STEFANIE LAMBERT

                      Pursuant to 28 U.S. Code § 1746 STEFANIE LAMBERT (hereinafter

             referred to as the “DECLARANT”), states as follows:

                      1.      The DECLARANT is a named Defendant in this Action. The following

             facts are within the DECLARANT’s personal knowledge and if called upon to

             testify, I would and could competently testify to these facts.

                      2.      In the DECLARANT’s capacity of holding the office of managing

             member of The Law Firm of Stefanie L. Lambert, PLLC a Michigan professional

             limited liability company, In the DECLARANT is readily familiar with the records


                                                           THE TICKTIN LAW GROUP
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             of the company.

                      3.      The Plaintiffs, YAACOV APELBAUM, and XRVISION, LTD., filed

             this action on July 18, 2023. The Plaintiffs in this matter did not serve the

             DECLARANT or The Law Firm of Stefanie L. Lambert, PLLC with the complaint

             in the above-captioned case.

                      4.      Neither the DECLARANT, nor anyone authorized to accept service on

             behalf my behalf was served with a summons and complaint as to this legal action.

                      5.      The Law Firm of Stefanie L. Lambert, PLLC was not served, nor

             anyone authorized to accept service on behalf of The Law Firm of Stefanie L.

             Lambert, PLLC was served with a summons and complaint to this legal action.

                      6.      The DECLARANT has received multiple death threats related to the

             DECLARANT’s representation of clients with their underlying litigation regarding

             the 2020 Presidential Election, rather than attempting to evade service. A true and

             correct composite copy of a few of these death threats is attached hereto and marked

             as Exhibit “A.”

                      7.      The Plaintiffs allege that the DECLARANT was served via Alternative

             Service on or around January 4, 2024.

                      8.      The DECLARANT has been informed that an individual named Mario

             was served with a copy of the Complaint and Summons at 19245 23 Mile Rd.,

             Macomb, MI 48042. The DECLARANT has neither resided 19245 23 Mile Rd.,

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             Macomb, MI 48042 nor does the DECLARANT know anyone named “Mario.”

                      9.      At the time of the alleged service on or around January 4, 2024, the

             DECLARANT served as the agent for service of process for The Law Firm of

             Stefanie L. Lambert, PLLC. To the DECLARANT’s present knowledge and to this

             date, The Law Firm of Stefanie L. Lambert, PLLC nor the DECLARANT have been

             served with a copy of the summons and complaint relevant to this action.

                      10.     Attorney Michael J. Smith was retained to represent the DECLARANT

             in other cases and agreed to file a Motion to Dismiss in the above styled case. The

             DECLARANT has since learned that no such Motion to Dismiss had been filed.

                      11.     Moreover, attorney Michael J. Smith did not file an appearance on my

             behalf in the above styled case.

                      12.     Per this Court’s public docket, a Clerks Default for this action was

             entered against the DECLARANT and The Law Firm of Stefanie L. Lambert, PLLC

             on or around February 27, 2024. At no point prior to this aforementioned date was

             the DECLARANT or any authorized agent of The Law Firm of Stefanie L. Lambert,

             PLLC made aware of service of the Complaint.

                      13.     Due to the foregoing, at no point prior to the Clerks Default being

             entered into this action was the DECLARANT served or made aware of the specific

             and actual allegations in the Plaintiffs’ Complaint filed action nor of alleged service

             of the corresponding summons or complaint. Due to the Plaintiffs’ failure to timely

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             and actually serve the DECLARANT or The Law Firm of Stefanie L. Lambert,

             PLLC with this action’s complaint and summons, neither the DECLARANT nor The

             Law Firm of Stefanie L. Lambert, PLLC have been granted the opportunity to

             respond to the Plaintiffs’ complaint and corresponding allegations.

                      14.     As the DECLARANT was not properly served with the complaint and

             summons to this action, the DECLARANT was unaware specific allegetions in this

             action and have been deprived of the ability to respond to the Plaintiffs’ Complaint.

                      15.      Based on the foregoing, the Clerks Default entered in this action was

             not caused by inexcusable neglect or avoidance of service as the DECLARANT was

             unaware of the specific allegations of this action at any time prior to recently.

                      16.     The DECLARANT has been the subject of a substantial volume legal

             actions in the past four years, ascertaining the progress or status of each case is

             overwhelmingly difficult and time consuming.

                      17.     The DECLARANT has mistakenly believed that this case had been

             dismissed, and no further action would be necessary.

                      18.     Upon learning of the Clerks Default, the DECLARANT immediately

             sought legal counsel and diligently pursued this relief. By and through my counsel,

             the Plaintiffs have not agreed to a joint stipulation to set aside the Clerks Default

             against the DECLARANT and The Law Firm of Stefanie L. Lambert, PLLC thus,

             the DECLARANT has no choice but to respectively seek court intervention.

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                      19.     The DECLARANT has reviewed the Plaintiffs’ Complaint and wholly

             disputes the Plaintiffs’ claims as stated in their Complaint.                          In fact, upon

             investigating Plaintiffs’ allegations, the DECLARANT has not made the allegedly

             slanderous statements, libel, nor did the DECLARANT request the Plaintiffs to

             perform the work as alleged in their Complaint.

                      20.     The statements that the Plaintiffs’ allege to be libel and or slanderous

             were either not made at all or entirely true.

                      21.     The circumstances of which the Plaintiffs allege that any statements

             were made, relate entirely to discussions made with state legislatures and/or state

             senators, and are privileged communications.                            To the extent any inaccurate

             statements were made, those statements were made in good faith and belief in truth.

                      22.     Accordingly, the DECLARANT respectfully requests this Court to set

             aside the Clerks Default, so that the DECLARANT and The Law Firm of Stefanie

             L. Lambert, PLLC may move forward in protecting our rights and have this action

             heard on its actual merits.




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           Case 2:23-cv-11718-RJW-APP  ECF No. 61-1, PageID.565 Filed 07/01/25 Page 6 of 10




             I declare under penalty of perjury that the foregoing is true and correct. Executed
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             on ________________.


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                                                                                    Stefanie Lambert




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                                         EXHIBIT A
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                Contact Form

                Site
                Attorney Stefanie Lambert

                Submitted content
                Name: Maga Hunter
                Email: hang'em@high.com
                Phone: 15414144144
                Subject: Lube
                Message: I love MAGA, don't you? Make
                Attorneys Get Attorneys, right your worthless
                shitbag? How was getting arrested? Did you
                enjoy that? Once you have had your bar license
                pulled here shortly, you'll be more vulnerable
                and open to those who want to 'speak' to you.
                Remember- You can run, but you can't hide.
                You did the "Fuck around" part, and now you
                get the "Find Out" part.

                Number of submissions received
                17/1000 this month
                March 21st - April 20th

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              Site
              Att orn ey Stefanie Lambert

              Su bm itt ed content
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              Email: mokboge@gmail.com
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              Su bje ct: Ju sti ce
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              Message: I want to beat you to death with yo
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